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5    Attorneys for Defendant
     DOUGLAS HEALD
6
7
8                               UNITED STATES DISTRICT COURT
9                              EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )      Case No. 10-474-WBS
                                     )
11                  Plaintiff,       )      STIPULATION AND PROPOSED ORDER TO
                                     )      ALLOW TEMPORARY RELEASE OF
12        v.                         )      PASSPORT AND INTERNATIONAL TRAVEL
                                     )
13   DOUGLAS HEALD,                  )      Judge: Edmund F. Brennan
                                     )
14                  Defendant.       )
     _______________________________ )
15
16         The United States of America, by Jared Dolan, Assistant United
17   States Attorney, together with defendant, Douglas Heald, by counsel,
18   Michael Petrik, Jr., stipulate that the Court should order temporary
19   release of Mr. Heald’s passport to him, and to modify the conditions of
20   release to allow brief international travel to Mexico for business
21   purposes.    Pretrial Services has no objection to this stipulation, and
22   has a copy of Mr. Heald’s travel itinerary provided by Mr. Heald.
23         The parties stipulate that Mr. Heald may retrieve his passport from
24   the Clerk Of The Court on January 17, 2012, and return the passport to
25   the Clerk or his Pretrial Services Officer on January 24, 2012.
26   / / /
27   / / /
28   STIPULATION AND PROPOSED ORDER            1                               10-474-WBS
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1            The proposed schedule with respect to the temporary return of Mr.
2    Heald’s passport will allow Mr. Heald to travel on January 18 and 23,
3    2012.    The conference in Mexico begins on January 19, 2012, and ends
4    January 23, 2012.
5
6    Dated: January 5, 2012                   Respectfully submitted,
7                                             DANIEL J. BRODERICK
                                              Federal Defender
8
                                              /s/ M.Petrik
9
                                              MICHAEL PETRIK, Jr.
10                                            Assistant Federal Defender
11   Dated: January 5, 2012                   BENJAMIN B. WAGNER
                                              United States Attorney
12
                                              /s/ M.Petrik for
13                                            ________________________________
                                              JARED DOLAN
14                                            Assistant U.S. Attorney
15
16                                         O R D E R
17           For the reasons stated above, the Court orders temporary release of
18   Mr. Heald’s passport to him from January 17, 2012, to January 24, 2012.
19   The Court also orders the conditions of release to allow brief
20   international travel as the parties stipulate.          All other conditions of
21   release will remain in effect.
22   Dated:     January 5, 2012.
23
24
25
26
27
28   STIPULATION AND PROPOSED ORDER             2                               10-474-WBS
